      Case 1:13-cv-00186-CG-KBM Document 1 Filed 02/26/13 Page 1 of 4




                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

DAVID MARTINEZ,                              §
                                             §
      Plaintiff,                             §
                                             §
vs.                                          § Civil Case No.: 1:13-cv-186
                                             §
GC SERVICES, LP.,                            §
                                             §
      Defendant.                             §
                                             §

                                       COMPLAINT

      DAVID MARTINEZ, Plaintiff, through his attorneys alleges the following against GC

SERVICES, LP. , Defendant:



                                     INTRODUCTION

1.    Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15

      U.S.C. § 1692 et seq. (FDCPA).



                              JURISDICTION AND VENUE

2.    Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states that such

      actions may be brought and heard before “any appropriate United States district court

      without regard to the amount in controversy.”

3.    Defendant conducts business in the State of New Mexico establishing personal

      jurisdiction.

4.    Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).

                                                                                               1
                                       COMPLAINT
      Case 1:13-cv-00186-CG-KBM Document 1 Filed 02/26/13 Page 2 of 4




                                         PARTIES

5.    Plaintiff is a natural person residing in Rio Rancho, Sandoval County, New Mexico.

6.    Plaintiff is obligated or allegedly obligated to pay a debt and therefore is a “consumer”

      as that term is defined by 15 U.S.C. § 1692a(3).

7.    Pursuant to the definitions outlined in 15 U.S.C. § 1692a(1-6), Defendant is a debt

      collector and sought to collect a consumer debt from Plaintiff which was allegedly due

      and owing from Plaintiff, and Plaintiff is a consumer debtor.

8.    Defendant is business entity with an office located in Houston, Texas.

9.    Defendant uses instrumentalities of interstate commerce or the mails in any business the

      principal purpose of which is the collection of any debts, or who regularly collects or

      attempts to collect, directly or indirectly, debts owed or due or asserted to be owed or

      due another and is a "debt collector" as that term is defined by 15 U.S.C. § 1692a(6).

10.   Defendant acted through its agents, employees, officers, members, directors, heirs,

      successors, assigns, principals, trustees, sureties, subrogees, representatives, and

      insurers.



                               FACTUAL ALLEGATIONS

11.   On January 5, 2013, Defendant began placing collection calls to Plaintiff seeking and

      demanding payment for an alleged consumer debt.

12.   Plaintiff’s alleged debt owed arises from transactions for personal, family, and

      household purposes on an American Express card.

                                                                                               2
                                       COMPLAINT
        Case 1:13-cv-00186-CG-KBM Document 1 Filed 02/26/13 Page 3 of 4




13.    Defendant called Plaintiff’s telephone number at 505-385-51XX.

14.    In January of 2013, Defendant called Plaintiff and left a voicemail message on Plaintiff’s

       answering machine. See transcribed voicemail message attached hereto as Exhibit A.

15.    In the voicemail message, Defendant’s representative, “Diane Wilkins” failed to

       meaningfully disclose the company’s name, the nature of the call, or state that the call

       was from a debt collector. See Exhibit A.

16.    In the voicemail message, Defendant’s representative, “Diane Wilkins”, directed

       Plaintiff to call her back at 1-314-851-4327, which is a number that belongs to

       Defendant. See Exhibit A.

17.    Defendant is using false, deceptive and misleading means in connection with attempting

       to collect a debt by not identifying the purpose of its phone calls or that they are an

       attempt to collect a debt.


                               COUNT I
      DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

18.    Defendant violated the FDCPA based on the following:

          a. Defendant violated §1692d of the FDCPA by engaging in conduct the natural

              consequence of which is to harass, oppress, or abuse Plaintiff.

          b. Defendant violated §1692d(6) of the FDCPA by placing telephone calls without

              meaningful disclosure of the caller’s identity because Defendant did not provide

              the identity of the caller or the nature of the debt.

          c. Defendant violated §1692e of the FDCPA by using false, deceptive or misleading

              representation with the collection of the debt.

                                                                                                3
                                         COMPLAINT
         Case 1:13-cv-00186-CG-KBM Document 1 Filed 02/26/13 Page 4 of 4




            d. Defendant violated §1692e(10) of the FDCPA by using deceptive means in an

                attempt to collect a debt.

            e. Defendant violated §1692e(11) of the FDCPA by failing to disclose that the call

                was from a debt collector.

      WHEREFORE, Plaintiff, DAVID MARTINEZ, respectfully requests judgment be entered

against Defendant, GC SERVICES, LP., for the following:

19.      Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15

         U.S.C. 1692k;

20.      Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,

         15 U.S.C. 1692k; and

21.      Any other relief that this Honorable Court deems appropriate.



DATED: February 26, 2013                 RESPECTFULLY SUBMITTED
                                       By: /s/ Charles N. Lakins, Esq.
                                               Charles N. Lakins, Esq.
                                               Lakins Law Firm, P.C.
                                               PO Box 91357
                                               Albuquerque, NM 87199
                                               Attorney for Plaintiff




                                                                                                4
                                             COMPLAINT
